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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION
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MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE                                            FILE D
ADVANCEMENT OF COLORED PEOPLE; DR.
ANDREA WESLEY; DR. JOSEPH WESLEY;
ROBERT EVANS; GARY FREDERICKS; PAMELA
                                                                         Jul 08 2025
HAMNER; BARBARA FINN; OTHO BARNES;                                $57+85-2+16721 &/(5.
SHIRLINDA ROBERTSON; SANDRA SMITH;                            %\BBBBBBBBBBBBBBBBB'HSXW\&OHUN
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DEBORAH HULITT; RODESTA TUMBLIN; DR.
KIA JONES; MARCELEAN ARRINGTON;
VICTORIA ROBERTSON,
                                                             CIVIL ACTION NO.
              Plaintiffs,                                 3:22-cv-734-DPJ-HSO-LHS

              vs.

STATE BOARD OF ELECTION COMMISSIONERS;
TATE REEVES, in his official capacity as Governor of
Mississippi; LYNN FITCH, in her official capacity as
Attorney General of Mississippi; MICHAEL WATSON,
in his official capacity as Secretary of State of
Mississippi,

              Defendants,
AND

MISSISSIPPI REPUBLICAN EXECUTIVE
COMMITTEE,

Intervenor-Defendant.


                            DEFENDANTS’ EXHIBIT LIST
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        Document Description                       Sponsor               ID.        EVID.


DX-1    October 16, 2023, Expert Report of Dr.
        John R. Alford and all exhibits and
        appendices thereto

DX-2    October 23, 2023, Supplemental Expert
        Report of Dr. Thomas L. Brunell
        including all exhibits and appendices
        thereto

DX-3    November 17, 2023, Amended Expert
        Report of Dr. Thomas L. Brunell
        including all exhibits and appendices
        thereto

DX-4    December 6, 2023, Second
        Supplemental Expert Report of Dr.
        Thomas L. Brunell, including all
        exhibits and appendices thereto

DX-5    November 7, 2023, Election Returns
        from Mississippi Secretary of State for
        SD7

DX-6    U.S. Department of Justice Preclearance
        Letter September 14, 2012/
        Senate/House Plan

DX-7    U.S. Department of Justice Preclearance
        Letter June 17, 2002/ Senate/House Plan

DX-8    Exhibit 3 to Deposition of Dr. Ragusa,
        Summary of Dr. Ragusa’s Model
        Findings of Statistical Significance

DX-9    Exhibit 4 to Deposition of Dr. Orey,
        Chapter 4, Participation in Electoral
        Politics from Book titled African
        Americans and Political Participation, A
        Reference Handbook (excerpt pp. 13-
        241)

DX-10   Exhibit 5 to Deposition of Dr. Orey,
        Article titled Mississippi and the Great


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        White Switcheroo in Commentary on
        “The Changing South” (excerpt pp. 234-
        238)

DX-11   Exhibit 6 to Deposition of Dr. Orey,
        Chapter 4, The Evolution and
        Devolution of the Voting Rights Act:
        Black Descriptive and Substantive
        Representation from Book titled
        Minority Voting in the United States,
        African American, Women, and
        Latino/Latina Voters – Vol. I (excerpt
        pp. 56-77)

DX-12   Exhibit 7 to Deposition of Dr. Orey,
        Cooperative Election Study, Guide to
        the 2020 Cooperative Election Study,
        Data Release No. 2

DX-13   Exhibit 12 to Deposition of Dr. Orey,
        Prof. Orey Do File for Rebuttal Report
        of Nov. 22, 2023

DX-14   Exhibit 13 to Deposition of Dr. Orey,
        Orey Article titled Racial Identity and
        Emotional Responses to Confederate
        Symbols

DX-15   Exhibit 14 to Deposition of Dr. Orey,
        Orey Research Note titled White Racial
        Attitudes and Support for the Mississippi
        State Flag

DX-16   Nonprofit Certificate for Planning and
        Development Districts, North Delta
        Planning and Development District,
        Inc., Central Mississippi Planning and
        Development District, Inc., Southern
        Mississippi Planning and Development
        District, Inc., East Central Planning and
        Development District, Inc., Golden
        Triangle Planning and Development
        District, Inc., Three Rivers Planning and


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        Development District, Inc., Secretary of
        State Filings

DX-17   Jack Levin and James Alan Fox.
        Elementary Statistics in Social
        Research, 9th ed.

DX-18   Chava Frankfort-Nachmias and David
        Nachmias, Research Methods in the
        Social Sciences, 6th ed.

DX-19   SJC Congressional Map of Population
        Increase/Decrease
DX-20   Exhibit 3 to Deposition of Dr. Lisa
        Handley, Endogenous Elections Chart

DX-21   Exhibit 20 to Deposition of Ms.
        Madalan Lennep

DX-22   Mississippi House Roster

DX-23   Mississippi House Committee Chair List

DX-24   Mississippi Senate Roster

DX-25   Mississippi Senate Committee Chair
        List
DX-26   Summary Table – Political Participation
        by Race, Mississippi Since 1986
DX-27   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4, 1986
DX-28   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4, 1988
DX-29   United States Census Current
        Population Survey’s Reported Voting
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        Hispanic Origin, Table 4, 1990




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DX-30   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
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DX-31   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4, 1994
DX-32   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4A 1996
DX-33   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4, 1998
DX-34   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4a, 2000
DX-35   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4a, 2002
DX-36   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4a, 2004
DX-37   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2006
DX-38   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2008
DX-39   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2010
DX-40   United States Census Current
        Population Survey’s Reported Voting



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        and Registration, by Sex, Race and
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DX-41   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
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DX-42   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2016
DX-43   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2018
DX-44   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2020
DX-45   United States Census Current
        Population Survey’s Reported Voting
        and Registration, by Sex, Race and
        Hispanic Origin, Table 4b, 2022
DX-46   NAACP v. Fordice, No. 3:92-CV-250-
        LN (S.D. Miss. July 7, 1999) (District
        Court Opinion)

DX-47   Shelby County, Ala. v. Holder, 570 U.S.
        529 (2013)

DX-48   U.S. v. Brown, 494 F. Supp. 2d 440
        (S.D. Miss. 2007)

DX-49   Report of Oliver E. Diaz, Jr., 10.3.2022

DX-50   Full 2020 CES Dataset for Mississippi
        Sample
DX-51   Catalist Records Request Email

DX-52   Statewide Voter Files

DX-53   Representative Bennie Thompson
        Sample Ballot



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DX-54   Public Hearings – Sign-in Sheets &
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DX-55   Gary Fredericks Response and
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DX-56   Gary Fredericks Response and
        Objections to First Set of Interrogatories

DX-57   Voter Profile Gary Fredericks

DX-58   Joseph Wesley Response and Objections
        to Requests for Admission

DX-59   Joseph Wesley Response and Objections
        to First Set of Interrogatories

DX-60   Voter Profile Dr. Joseph Wesley

DX-61   Kia Jones Response and Objections to
        Requests for Admissions

DX-62   Kia Jones Response and Objections to
        First Set of Interrogatories

DX-63   Voter Profile Dr. Kia Jones

DX-64   Pamela Hamner Response and
        Objections to Requests for Admission

DX-65   Pamela Hamner Response and
        Objections to First Set of Interrogatories

DX-66   Voter Profile Pamela Hamner

DX-67   Voter Profile Mamie Cunningham

DX-68   Voter Profile Ashley Wilson

DX-69   Voter Profile Sharon Moman

DX-70   Hamner Email 8.9.21




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DX-72         J Wesley Memorandum 8.12.2021

DX-73         J Wesley Memorandum 7.29.2021

DX-74         A Wesley Memorandum 8.26.2021

DX-75         Fredericks Social Media Post

DX-76         YouTube Video of Senate Floor Debate

DX-77         YouTube Video of House Floor Debate

DX-78         Deposition Transcript of Mr. William
              Cooper
DX-79         Deposition Transcript of Dr. Lisa
              Handley

DX-80         Deposition Transcript of Dr. Byron
              D’Andra Orey

DX-81         Brennan Center for Justice, Growing
              Racial Disparities in Voter Turnout,
              2008-2022 (Mar. 2024),
              https://www.brennancenter.org/our-
              work/research-reports/growing-racial-
              disparities-voter-turnout-2008-2022
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